 Case 5:19-cv-00383-TES-CHW               Document 98          Filed 12/20/21     Page 1 of 21


                                                                                           APPEAL,MKW
                       U.S. District Court [LIVE AREA]
                      Middle District of Georgia (Macon)
             CIVIL DOCKET FOR CASE #: 5:19−cv−00383−TES−CHW

ZAVALA v. WARD, et al.                                           Date Filed: 09/23/2019
Assigned to: US DISTRICT JUDGE TILMAN E SELF, III                Date Terminated: 03/02/2021
Referred to: US MAGISTRATE JUDGE CHARLES H                       Jury Demand: None
WEIGLE                                                           Nature of Suit: 555 Prisoner: Prison
Case in other court: United States Court of Appeals Eleventh     Condition
                     Circuit, 21−10989−J                         Jurisdiction: Federal Question
                     US Court of Appeals 11th Circuit,
                     21−11812−J
Cause: 42:1983 Prisoner Civil Rights
Plaintiff
DAVID ZAVALA                                     represented by DAVID ZAVALA
                                                                REG01574−120
                                                                ATLANTA
                                                                U.S. PENITENTIARY
                                                                Inmate Mail/Parcels
                                                                PO BOX 150160
                                                                ATLANTA, GA 30315
                                                                PRO SE


V.
Defendant
COMMISSIONER TIMOTHY C                           represented by ANDREW M MAGRUDER
WARD                                                            2 GEORGE C WILSON CT
In his indiviual and official capacity                          AUGUSTA, GA 30909
                                                                United Sta
                                                                706−737−0771
                                                                Email: amm@wmssd.net
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

Defendant
ASST COMMISSIONER RICKY                          represented by ANDREW M MAGRUDER
MYRICK                                                          (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

Defendant
ROBERT TOOLE                                     represented by ANDREW M MAGRUDER
Director of Field Operations                                    (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED


                                                                                                    GAMD 1
 Case 5:19-cv-00383-TES-CHW   Document 98   Filed 12/20/21   Page 2 of 21



Defendant
REGIONAL DIRECTOR TAYLOR           represented by ANDREW M MAGRUDER
GD&CP/SMU                                         (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Defendant
WARDEN BENJAMIN FORD               represented by ANDREW M MAGRUDER
GD&CP/SMU                                         (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Defendant
SUPERINTENDENT MICHAEL             represented by ANDREW M MAGRUDER
CANNON                                            (See above for address)
GD&CP/SMU                                         LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Defendant
DEPUTY WARDEN JOSEPH POLITE        represented by ANDREW M MAGRUDER
GD&CP/SMU                                         (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Defendant
UNIT MANAGER GEORGE BALL           represented by ANDREW M MAGRUDER
GD&CP/SMU                                         (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Defendant
CAPTAIN THOMAS SUMPTER             represented by ANDREW M MAGRUDER
GD&CP/SMU                                         (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Defendant
LIEUTENANT NOPEN                   represented by ANDREW M MAGRUDER
GD&CP/SMU                                         (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Defendant
LIEUTENANT JIMMY HARPER            represented by ANDREW M MAGRUDER
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED



                                                                            GAMD 2
 Case 5:19-cv-00383-TES-CHW           Document 98         Filed 12/20/21        Page 3 of 21



Defendant
LIEUTENANT GREG DAVIS                         represented by ANDREW M MAGRUDER
GD&CP/SMU                                                    (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Defendant
MERRY GORE                                    represented by ANDREW M MAGRUDER
Health Authority of GD&CP/SMU                                (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Defendant
NURSE ELAINE WAGY                             represented by ANDREW M MAGRUDER
GD&CP/SMU                                                    (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
CERT OFFICER I EVANS
GD&CP/SMU

Defendant
GENERAL COUNSELOR JON                         represented by ANDREW M MAGRUDER
GOODY                                                        (See above for address)
GD&CP/SMU                                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED


 Date Filed   #   Page Docket Text
 09/23/2019   1        COMPLAINT against All Defendants,filed by DAVID ZAVALA.
                       (Attachments: # 1 Exhibit A−1 Offender Grievance Form, # 2 Exhibit A2 −
                       Notification of Referral to the Criminal Investigations Division, # 3 Exhibit A−3
                       through A−4 − Receipt for Grievance at Counselor's Level, # 4 Exhibit B−1 −
                       Offender Grievance Form, # 5 Exhibit B2 − Warden's/Superintendent's
                       Grievance Response, # 6 Exhibit C−1 − Offender Grievance Form, # 7 Exhibit
                       C−3 and C−4 − Receipt for Grivance at Counselor's Level, # 8 Exhibit 5 −
                       Warden's/Superintendent's Grievance Response, # 9 Exhibit D−1 − Offender
                       Grievance Form, # 10 Exhibit D−2 − Warden's/Superintendent's Grievance
                       Response, # 11 Exhibit D−3 and D−4 − Receipt for Grievance at Counselor's
                       Level, # 12 Exhibit H−1 − Offender Grievance Form, # 13 Exhibit E−2 −
                       Warden's/Superintendent's Rejected Grievance Response, # 14 Exhibit E−3 and
                       E−4 − Receipt for Grievance at Counselor's Level, # 15 Exhibit F−1 − Offender
                       Grievance Form, # 16 Exhibit F2 − Warden's/Superintendent's Grievance
                       Response, # 17 Exhibit F−3 and F−4 − Receipt for Grievance at Counselor's
                       Level, # 18 Exhibit G−1 − Offender Grievance Form, # 19 Exhibit G−2 −
                       Warden's/Superintendent's Rejected Grievance Response, # 20 Exhibit G−3 and
                       G−4 − Receipt for Grievance at Counselor's Level, # 21 Exhibit H−1 − Offender
                       Grievance Form, # 22 Exhibit H−2 − Warden's/Superintendent's Grievance
                       Response, # 23 Exhibit H−3 and H−4 − Receipt for Grievance at Counselor's

                                                                                                 GAMD 3
Case 5:19-cv-00383-TES-CHW        Document 98         Filed 12/20/21       Page 4 of 21



                  Level, # 24 Exhibit I 1−8 − Receipt for Grievance at Counselor's Level, # 25
                  Exhibit J − Letter dated 06/27/19 to Mr. Polite, # 26 Exhibit K−1 −
                  Administrative Segregation: Tier III Program Assignment Appeal Form, # 27
                  Exhibit K−2 − Disciplinary Report, # 28 Exhibit L−1 − L−3 − Health Services
                  Request Forms, # 29 Exhibit M−1 − M−10 − Health Services Request Forms, #
                  30 Exhibit N − Witness Statement by William Blake Page, # 31 Summons, # 32
                  Cover Letter, # 33 Envelope): Originals located on shelf in Clerk's Office as
                  some documents are illegible. (ans) Modified to add document location text on
                  9/23/2019 (ans). (Entered: 09/23/2019)
09/23/2019    2   MOTION to Appoint Counsel Filed by DAVID ZAVALA. (Attachments: # 1
                  Attachments referenced in Motion to Appoint Counsel). Motion(s) referred to
                  CHARLES H WEIGLE.(ans) (Entered: 09/23/2019)
09/23/2019    3   ORDER REFERRING CASE to Magistrate Judge issued at the direction of
                  the Court. (ans) (Entered: 09/23/2019)
09/23/2019    4   Consent Form (28 USC 636(c)(1)) sent to DAVID ZAVALA (ans) (Entered:
                  09/23/2019)
11/12/2019    5   Letter from DAVID ZAVALDA regarding request for information as to whether
                  or not his "Forma Pauperis" request was granted (this Court is not in receipt of
                  an IFP application − blank IFP application mailed to plaintiff); request for
                  information as to whether or not it's too soon to amend complaint (copy of Local
                  Rules mailed to plaintiff); request for information as to how to receive copies of
                  exhibits filed with complaint − mailed information to plaintiff regarding the
                  requirement to pay $.50 per page for copies) − copy of the Notice of Electronic
                  Filing mailed to plaintiff. (Attachments: # 1 Envelope)(ans) (Entered:
                  11/12/2019)
11/27/2019    6   MOTION for Leave to Proceed in forma pauperis Filed by DAVID ZAVALA.
                  (Attachments: # 1 Envelope). Motion(s) referred to CHARLES H WEIGLE.(vs)
                  (Entered: 11/27/2019)
11/27/2019    7   MOTION to Appoint Counsel Filed by DAVID ZAVALA. Motion(s) referred
                  to CHARLES H WEIGLE.(vs) (Entered: 11/27/2019)
11/27/2019    8   NOTICE of filing proposed summons by DAVID ZAVALA (vs) (Entered:
                  11/27/2019)
12/02/2019    9   MOTION for Leave to Proceed in forma pauperis Filed by DAVID ZAVALA.
                  (Attachments: # 1 Cover Letter, # 2 Envelope). Motion(s) referred to CHARLES
                  H WEIGLE.(ans) (Entered: 12/02/2019)
01/02/2020   10   NOTICE of Change of Address (Attachments: # 1 Envelope)(tlf). (Entered:
                  01/02/2020)
04/02/2020   11   ORDER denying 2 Motion to Appoint Counsel ; granting 6 Motion for Leave
                  to Proceed in forma pauperis ; denying 7 Motion to Appoint Counsel ; granting
                  9 Motion for Leave to Proceed in forma pauperis. REPORT AND
                  RECOMMENDATION re 1 Complaint filed by DAVID ZAVALA ()
                  Ordered by US MAGISTRATE JUDGE CHARLES H WEIGLE on 04/2/2020.
                  (tam) (Entered: 04/02/2020)



                                                                                             GAMD 4
Case 5:19-cv-00383-TES-CHW       Document 98         Filed 12/20/21       Page 5 of 21



04/02/2020   12   USM 285 Process Receipt and Return ISSUED for All Defendants
                  (Attachments: # 1 USM 285 Assistant Commissioner Ricky Myrick, # 2 USM
                  285 Robert Toole, # 3 USM 285 Regional Director Taylor, # 4 USM 285
                  Warden Benjamin Ford, # 5 USM 285 Superintendent Michael Cannon, # 6
                  USM 285 Deputy Warden Joseph Polite, # 7 USM 285 George Ball Unit
                  Manager, # 8 USM 285 Captain Thomas Sumpter, # 9 USM 285 Lieutenant
                  Nopen, # 10 USM 285 Lieutenant Jimmy Harper, # 11 USM 285 Lieutenant
                  Greg Davis, # 12 USM 285 Merry Gore − Health Authority, # 13 USM 285
                  Elaine− Health Authority, # 14 USM 285 CERT Officer I Evans, # 15 USM 285
                  Jon Goody− General Counselor)(tam) (Entered: 04/02/2020)
04/06/2020   13   USM 285 Process Receipt and Return MAILED for All Defendants
                  (Attachments: # 1 USM 285 Myrick, # 2 USM 285 Toole, # 3 USM 285 Taylor,
                  # 4 USM 285 Ford, # 5 USM 285 Cannon, # 6 USM 285 Polite, # 7 USM 285
                  Ball, # 8 USM 285 Sumpter, # 9 USM 285 Nopen, # 10 USM 285 Harper, # 11
                  USM 285 Davis, # 12 USM 285 Gore, # 13 USM 285 Elaine, # 14 USM 285
                  Evans, # 15 USM 285 Goody)(tam) (Entered: 04/06/2020)
04/17/2020   14   USM 285 Process Receipt and Return EXECUTED for GEORGE BALL,
                  WAIVER OF SERVICE Returned Executed by GEORGE BALL.
                  (Attachments: # 1 Waiver of Service)(tam) (Entered: 04/17/2020)
04/17/2020   15   USM 285 Process Receipt and Return EXECUTED for JOSEPH POLITE,
                  WAIVER OF SERVICE Returned Executed by JOSEPH POLITE.
                  (Attachments: # 1 waiver of Service)(tam) (Entered: 04/17/2020)
04/22/2020   16   ORDER adopting 11 Report and Recommendations. The Court allows
                  Plaintiffs:(1) excessive force claims against Defendants Polite and Evans;(2) due
                  process claims regarding the restrictions on Plaintiffs confinement against
                  Defendants Taylor, Polite, Sumpter, Toole, Myrick, Goody, Ford, and Ward;(3)
                  conditions−of−confinement claims against Defendants Davis, Ball, Goody,Ford,
                  Sumpter, Harper, Polite, Nopen, Toole, Taylor, Ward, Myrick, andCannon;(4)
                  retaliation claims against Defendants Davis, Ford, Cannon, Polite,
                  Sumpter,Nopen, Harper, and Goody; and(5) medical treatment claims against
                  Defendants Goody, Ford, Cannon, Polite,Toole, Taylor, Ward, Ball, Sumpter,
                  Myrick, Gore, and Elaineto proceed. The Court DISMISSES without prejudice
                  the remaining claims in Plaintiffs Complaint [Doc. 1]. Ordered by US
                  DISTRICT JUDGE TILMAN E SELF, III on 4/22/2020. (chc) (Entered:
                  04/22/2020)
04/23/2020   17   USM 285 Process Receipt and Return UNEXECUTED for JIMMY HARPER.
                  (Attachments: # 1 Envelope)(tam) (Entered: 04/23/2020)
04/24/2020   18   USM 285 Process Receipt and Return ISSUED (PERSONAL SERVICE) for
                  JIMMY HARPER. (tam). (Entered: 04/24/2020)
04/24/2020   19   Summons Issued as to JIMMY HARPER. (tam) (Entered: 04/24/2020)
04/24/2020   20   USM 285 Process Receipt and Return UNEXECUTED for EVANS.
                  (Attachments: # 1 Envelope)(tam) (Entered: 04/24/2020)
04/24/2020   21   USM 285 Process Receipt and Return ISSUED (PERSONAL SERVICE) for
                  EVANS. (tam) (Entered: 04/24/2020)
04/24/2020   22   Summons Issued as to EVANS. (tam) (Entered: 04/24/2020)


                                                                                            GAMD 5
Case 5:19-cv-00383-TES-CHW       Document 98        Filed 12/20/21       Page 6 of 21



05/01/2020   23   USM 285 Process Receipt and Return EXECUTED for MERRY GORE. (tam)
                  (Entered: 05/01/2020)
05/01/2020   24   WAIVER OF SERVICE Returned Executed by MERRY GORE as to MERRY
                  GORE. (tam) (Entered: 05/01/2020)
05/04/2020   25   USM 285 Process Receipt and Return EXECUTED for NOPEN, WAIVER OF
                  SERVICE Returned Executed by NOPEN. (tam) (Entered: 05/04/2020)
05/08/2020   26   MOTION for access to law library and computers for discovery and research
                  and for access to commissary. Filed by DAVID ZAVALA. (Attachments: # 1
                  Envelope) Motion(s) referred to CHARLES H WEIGLE.(tam) (Entered:
                  05/08/2020)
05/14/2020   27   USM 285 Process Receipt and Return EXECUTED for TIMOTHY C WARD,
                  WAIVER OF SERVICE Returned Executed by TIMOTHY C WARD. (tam)
                  (Entered: 05/14/2020)
05/14/2020   28   USM 285 Process Receipt and Return EXECUTED for ROBERT TOOLE,
                  WAIVER OF SERVICE Returned Executed by ROBERT TOOLE. (tam)
                  (Entered: 05/14/2020)
05/14/2020   29   USM 285 Process Receipt and Return EXECUTED for RICKY MYRICK,
                  WAIVER OF SERVICE Returned Executed by RICKY MYRICK. (tam)
                  (Entered: 05/14/2020)
05/14/2020   30   USM 285 Process Receipt and Return EXECUTED for JIMMY HARPER.
                  (tam) (Entered: 05/14/2020)
05/19/2020   31   USM 285 Process Receipt and Return EXECUTED for BENJAMIN FORD,
                  WAIVER OF SERVICE Returned Executed by BENJAMIN FORD. (tam)
                  (Entered: 05/19/2020)
05/19/2020   32   USM 285 Process Receipt and Return EXECUTED for TAYLOR, WAIVER
                  OF SERVICE Returned Executed by TAYLOR. (tam) (Entered: 05/19/2020)
05/19/2020   33   WAIVER OF SERVICE Returned Executed by JON GOODY. (tam) (Entered:
                  05/19/2020)
05/19/2020   34   WAIVER OF SERVICE Returned Executed by TIMOTHY C WARD. (tam)
                  (Entered: 05/19/2020)
05/19/2020   35   WAIVER OF SERVICE Returned Executed by ROBERT TOOLE. (tam)
                  (Entered: 05/19/2020)
05/19/2020   36   WAIVER OF SERVICE Returned Executed by RICKY MYRICK. (tam)
                  (Entered: 05/19/2020)
06/04/2020   37   MOTION to Dismiss Claims by GEORGE BALL, GREG DAVIS, BENJAMIN
                  FORD, JON GOODY, MERRY GORE, JIMMY HARPER, RICKY MYRICK,
                  NOPEN, JOSEPH POLITE, TAYLOR, ROBERT TOOLE, TIMOTHY C
                  WARD filed by Andrew M. Magruder. (Attachments: # 1 Memorandum in
                  Support, # 2 Affidavit Johannes Goody, # 3 Exhibit Goody Aff. Ex. A, # 4
                  Exhibit Goody Aff. Ex. B, # 5 Exhibit Goody Aff. Ex. C, # 6 Exhibit Goody
                  Aff. Ex. D, # 7 Exhibit Goody Aff. Ex. E, # 8 Exhibit Goody Aff. Ex. F, # 9
                  Exhibit Goody Aff. Ex. G, # 10 Exhibit Goody Aff. Ex. H, # 11 Exhibit Goody
                  Aff. Ex. I, # 12 Exhibit Goody Aff. Ex. J, # 13 Exhibit Goody Aff. Ex. K, # 14

                                                                                          GAMD 6
Case 5:19-cv-00383-TES-CHW       Document 98        Filed 12/20/21       Page 7 of 21



                  Exhibit Goody Aff. Ex. L, # 15 Exhibit Goody Aff. Ex. M, # 16 Exhibit Goody
                  Aff. Ex. N, # 17 Exhibit Goody Aff. Ex. O, # 18 Exhibit Goody Aff. Ex. P, # 19
                  Exhibit Goody Aff. Ex. Q, # 20 Exhibit Goody Aff. Ex. R, # 21 Exhibit Goody
                  Aff. Ex. S). Motion(s) referred to CHARLES H WEIGLE.(Magruder, Andrew)
                  (Entered: 06/04/2020)
06/04/2020   38   MOTION to Stay Discovery by GEORGE BALL, GREG DAVIS, BENJAMIN
                  FORD, JON GOODY, MERRY GORE, JIMMY HARPER, RICKY MYRICK,
                  NOPEN, JOSEPH POLITE, TAYLOR, ROBERT TOOLE, TIMOTHY C
                  WARD filed by Andrew M. Magruder. (Attachments: # 1 Memorandum in
                  Support). Motion(s) referred to CHARLES H WEIGLE.(Magruder, Andrew)
                  (Entered: 06/04/2020)
06/05/2020   39   ORDER granting 38 Motion to Stay Discovery and Notification of Motion to
                  Dismiss. Ordered by US MAGISTRATE JUDGE CHARLES H WEIGLE on
                  06/05/2020 (tam) (Entered: 06/05/2020)
06/11/2020   40   USM 285 Process Receipt and Return EXECUTED for GREG DAVIS,
                  WAIVER OF SERVICE Returned Executed by GREG DAVIS. (tam) (Entered:
                  06/11/2020)
06/12/2020   41   USM 285 Process Receipt and Return UNEXECUTED for MICHAEL
                  CANNON, ELAINE, THOMAS SUMPTER. (Attachments: # 1 USM 285
                  Cannon, # 2 USM 285 Sumpter)(tam) (Entered: 06/12/2020)
06/12/2020   42   USM 285 Process Receipt and Return ISSUED (PERSONAL SERVICE) for
                  ELAINE, Summons Issued as to ELAINE. (Attachments: # 1 Summons)(tam)
                  (Entered: 06/12/2020)
06/12/2020   43   USM 285 Process Receipt and Return ISSUED (PERSONAL SERVICE) for
                  MICHAEL CANNON, Summons Issued as to MICHAEL CANNON.
                  (Attachments: # 1 Summons)(tam) (Entered: 06/12/2020)
06/12/2020   44   USM 285 Process Receipt and Return ISSUED (PERSONAL SERVICE) for
                  THOMAS SUMPTER, Summons Issued as to THOMAS SUMPTER.
                  (Attachments: # 1 Summons)(tam) (Entered: 06/12/2020)
06/19/2020   45   ORDER denying 26 Motion for access to law library and computers for
                  discovery and research and for access to commissary. Ordered by US
                  MAGISTRATE JUDGE CHARLES H WEIGLE on 06/19/2020 (tam) (Entered:
                  06/19/2020)
06/24/2020   46   USM 285 Process Receipt and Return (PERSONAL SERVICE) EXECUTED
                  for MICHAEL CANNON. (tam) (Entered: 06/24/2020)
06/24/2020   47   USM 285 Process Receipt and Return UNEXECUTED for ELAINE. (tam)
                  (Entered: 06/24/2020)
06/30/2020   48   RESPONSE filed by DAVID ZAVALA re 37 MOTION to Dismiss Claims.
                  (Attachments: # 1 Affidavit, # 2 Envelope)(tam) (Entered: 06/30/2020)
06/30/2020   49   USM 285 Process Receipt and Return EXECUTED (Personal Service) for
                  THOMAS SUMPTER. (tam) (Entered: 06/30/2020)
07/01/2020   50   MOTION to Dismiss by MICHAEL CANNON, THOMAS SUMPTER filed by
                  Andrew M. Magruder. (Attachments: # 1 Memorandum in Support). Motion(s)

                                                                                          GAMD 7
Case 5:19-cv-00383-TES-CHW        Document 98         Filed 12/20/21       Page 8 of 21



                  referred to CHARLES H WEIGLE.(Magruder, Andrew) (Entered: 07/01/2020)
07/01/2020   51   MOTION to Stay Discovery by MICHAEL CANNON, THOMAS SUMPTER
                  filed by Andrew M. Magruder.. Motion(s) referred to CHARLES H
                  WEIGLE.(Magruder, Andrew) (Entered: 07/01/2020)
07/08/2020   52   ORDER granting 51 Motion to Stay AND NOTIFICATION OF MOTION
                  TO DISMISS. Ordered by US MAGISTRATE JUDGE CHARLES H WEIGLE
                  on 07/08/2020 (tam) (Entered: 07/08/2020)
07/13/2020   53   Letter from DAVID ZAVALA regarding concern of notarized affidavit in
                  opposition. (Attachments: # 1 Envelope)(tam) (Entered: 07/13/2020)
07/13/2020   54   ORDER Plaintiff is hereby NOTIFIED that the Court received an unexecuted
                  process receipt and return for Defendant Elaine on June 24, 2020. (Doc. 47).
                  Plaintiff is DIRECTED to remedy the apparent service defect concerning
                  Defendant Elaine by providing the Court with additional service information
                  such as a full name and a current service address so that the Court may continue
                  its efforts to effectuate service in the above−styled action. re 47 USM 285
                  Process Receipt and Return. Ordered by US MAGISTRATE JUDGE
                  CHARLES H WEIGLE on 07/13/2020. (tam) (Entered: 07/13/2020)
08/13/2020   55   Letter from DAVID ZAVALA regarding concerns regarding documents being
                  filed by a private paralegal and a request for 2 1983 packages. (2 copies of 1983
                  package mailed to plaintiff) (Attachments: # 1 Envelope)(tam) (Entered:
                  08/13/2020)
08/14/2020        REMARK: Mailed Plaintiff a copy of the docket sheet. (tam) (Entered:
                  08/14/2020)
08/27/2020   56   Motion to Amend/Correct Defendant Elaine Name from DAVID ZAVALA; re:
                  54 Order, (Attachments: # 1 Attachment− Witness Statement, # 2
                  Envelope)(tam) Modified to correct docket event on 9/2/2020 (tam). (Entered:
                  08/27/2020)
09/01/2020   57   RESPONSE In Opposition filed by DAVID ZAVALA re 50 MOTION to
                  Dismiss. (Attachments: # 1 Envelope)(tam) (Entered: 09/02/2020)
09/02/2020   58   ORDER granting 56 Motion to Amend/Correct. Ordered by US
                  MAGISTRATE JUDGE CHARLES H WEIGLE on 9/2/2020 (tam) (Entered:
                  09/02/2020)
09/02/2020   59   USM 285 Process Receipt and Return ISSUED for ELAINE WAGY. (tam)
                  (Entered: 09/02/2020)
09/08/2020   60   NOTICE Brief in Opposition to Motion to Dismiss by DAVID ZAVALA re 37
                  MOTION to Dismiss Claims. (Attachments: # 1 Affidavit, # 2 Attachment, # 3
                  Envelope)(tam) (Entered: 09/08/2020)
09/16/2020   61   USM 285 Process Receipt and Return MAILED for ELAINE WAGY. (tam)
                  (Entered: 09/16/2020)
10/02/2020   62   USM 285 Process Receipt and Return UNEXECUTED for ELAINE WAGY.
                  (tam) (Entered: 10/02/2020)
10/02/2020   63

                                                                                             GAMD 8
Case 5:19-cv-00383-TES-CHW        Document 98         Filed 12/20/21       Page 9 of 21



                  USM 285 Process Receipt and Return ISSUED PERSONAL SERVICE for
                  ELAINE WAGY. (tam) (Entered: 10/02/2020)
10/02/2020   64   Summons Issued as to ELAINE WAGY. (tam) (Entered: 10/02/2020)
10/16/2020   65   USM 285 Process Receipt and Return ASSIGNED DEPUTY FOR PERSONAL
                  SERVICE for ELAINE WAGY. (tam) (Entered: 10/16/2020)
12/16/2020   66   USM 285 Process Receipt and Return EXECUTED for ELAINE WAGY (tam)
                  (Entered: 12/16/2020)
12/28/2020   67   MOTION to Appoint Counsel Filed by DAVID ZAVALA. (Attachments: # 1
                  Cover Letter, # 2 Exhibit Receipt for Mail and Request for Indigent Postage, # 3
                  Envelope, # 4 Exhibit G− Envelope, # 5 Exhibit H− Envelope). Motion(s)
                  referred to CHARLES H WEIGLE.(tam) (Entered: 12/28/2020)
12/28/2020        REMARK: Mailed Plaintiff a copy of the docket sheet (tam) (Entered:
                  12/28/2020)
12/29/2020   68   MOTION to Dismiss by ELAINE WAGY filed by Andrew M. Magruder.
                  (Attachments: # 1 Memorandum in Support). Motion(s) referred to CHARLES
                  H WEIGLE.(Magruder, Andrew) (Entered: 12/29/2020)
12/29/2020   69   MOTION to Stay Discovery by ELAINE WAGY filed by Andrew M.
                  Magruder.. Motion(s) referred to CHARLES H WEIGLE.(Magruder, Andrew)
                  (Entered: 12/29/2020)
01/12/2021   70   RESPONSE filed by DAVID ZAVALA re 69 MOTION to Stay Discovery, 68
                  MOTION to Dismiss (Attachments: # 1 Envelope)(tam) (Entered: 01/12/2021)
02/05/2021   71   ORDER denying 67 Motion to Appoint Counsel ; denying as moot 69 Motion
                  to Stay ; REPORT AND RECOMMENDATION to Grant re 50
                  MOTION to Dismiss filed by THOMAS SUMPTER, MICHAEL CANNON, 37
                  MOTION to Dismiss Claims filed by ROBERT TOOLE, RICKY MYRICK,
                  NOPEN, BENJAMIN FORD, TIMOTHY C WARD, JIMMY HARPER,
                  MERRY GORE, JOSEPH POLITE, TAYLOR, GEORGE BALL, JON
                  GOODY, GREG DAVIS, 68 MOTION to Dismiss filed by ELAINE WAGY
                  and to Dismiss without prejudice this action in its entirety based upon Plaintiffs
                  failure toexhaust. Ordered by US MAGISTRATE JUDGE CHARLES H
                  WEIGLE on 02/05/2021. (vs) (Entered: 02/05/2021)
02/22/2021   72   OBJECTION to 71 Report and Recommendations filed by DAVID ZAVALA
                  (Attachments: # 1 Envelope)(vs) (Entered: 02/22/2021)
03/01/2021   73   ORDER adopting 71 Report and Recommendations; granting 37 Motion to
                  Dismiss; granting 50 Motion to Dismiss; granting 68 Motion to Dismiss; and
                  dismissing Plaintiff's cases entirely. Ordered by US DISTRICT JUDGE
                  TILMAN E SELF, III on 3/1/2021. (chc) (Entered: 03/01/2021)
03/02/2021   74   JUDGMENT (tam) (Entered: 03/02/2021)
03/25/2021   75   MOTION to Alter Judgment re: 74 Judgment Filed by DAVID ZAVALA.
                  (Attachments: # 1 Envelope). Motion(s) referred to CHARLES H
                  WEIGLE.(tam) (Entered: 03/25/2021)
03/25/2021   76

                                                                                             GAMD 9
Case 5:19-cv-00383-TES-CHW       Document 98          Filed 12/20/21        Page 10 of 21



                  Letter of Concern from David Zavala. (Attachments: # 1 Envelope)(tam)
                  (Entered: 03/25/2021)
03/25/2021   77   NOTICE OF APPEAL (21−10989−J) as to 74 Judgment, 73 Order on Motion to
                  Dismiss, Order on Report and Recommendations, by DAVID ZAVALA.
                  (Attachments: # 1 Envelope)(tam) Modified to correct docket text on 3/25/2021
                  (tam). Modified on 3/29/2021 to add appeal case number (tam). (Entered:
                  03/25/2021)
03/25/2021   78   Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals re:
                  71 Order, Report and Recommendation, Order on Motion to Appoint Counsel,
                  Order on Motion to Stay, 74 Judgment, 73 Order on Motion to Dismiss, Order
                  on Report and Recommendations, 77 Notice of Appeal Judge Appealed: Tillman
                  E. Self, III. Fee: Not Paid. (tam) (Entered: 03/25/2021)
03/29/2021   79   USCA Case Number 21−10989−J re 77 Notice of Appeal filed by DAVID
                  ZAVALA. (tam) (Entered: 03/29/2021)
03/29/2021   80   REPORT AND RECOMMENDATION re 75 MOTION to Alter
                  Judgment re: 74 Judgment filed by DAVID ZAVALA Ordered by US
                  MAGISTRATE JUDGE CHARLES H WEIGLE on 3/29/2021. (tam) (Entered:
                  03/29/2021)
04/16/2021   81   OBJECTION to 80 Report and Recommendations filed by DAVID ZAVALA
                  (Attachments: # 1 Exhibit A− Declaration, # 2 Envelope)(tam) (Entered:
                  04/16/2021)
04/16/2021   82   MOTION for Leave to Appeal in forma pauperis Filed by DAVID ZAVALA.
                  (Attachments: # 1 Envelope). Motion(s) referred to CHARLES H
                  WEIGLE.(tam) (Entered: 04/16/2021)
04/28/2021   83   ORDER adopting 80 Report and Recommendation. Ordered by US
                  DISTRICT JUDGE TILMAN E SELF, III on 04/28/2021 (jlk) (Entered:
                  04/28/2021)
05/04/2021   84   Letter of Concern/Declaration from David Zavala. (tam) (Entered: 05/04/2021)
05/14/2021   85   ORDER denying 82 Motion for Leave to Appeal in forma pauperis. Ordered
                  by US DISTRICT JUDGE TILMAN E. SELF, III on 5/11/2021. (ech) (Entered:
                  05/14/2021)
05/24/2021        Pursuant to F.R.A.P 11(c) the Clerk of the District Court for the Middle District
                  of Georgia certifies that the record is complete for purposes of this appeal re: 77
                  Notice of Appeal,. The entire record on appeal is available electronically (tam)
                  (Entered: 05/24/2021)
05/24/2021   86   NOTICE OF APPEAL (21−11812−J) as to 83 Order on Report and
                  Recommendations by DAVID ZAVALA. (Attachments: # 1 Envelope)(tam)
                  Modified on 5/28/2021 to add USCA Case Number (tam). (Entered:
                  05/24/2021)
05/24/2021   87   Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals re:
                  83 Order on Report and Recommendations, 86 Notice of Appeal, 80
                  REPORT AND RECOMMENDATION re 75 MOTION to Alter
                  Judgment re: 74 Judgment filed by DAVID ZAVALA Judge Appealed: Tillman

                                                                                             GAMD 10
Case 5:19-cv-00383-TES-CHW       Document 98         Filed 12/20/21          Page 11 of 21



                  E. Self, III. Fee: Not Paid. (tam) (Entered: 05/24/2021)
05/28/2021   88   USCA Case Number 21−11812−J re 86 Notice of Appeal filed by DAVID
                  ZAVALA. (tam) (Entered: 05/28/2021)
06/01/2021   89   Mail Returned − 85 Order on Motion for Leave to Appeal in forma pauperis sent
                  to David Zavala returned as undeliverable. (vs) (Entered: 06/01/2021)
06/04/2021   90   MANDATE of USCA DISMISSING appeal as to 86 Notice of Appeal filed by
                  DAVID ZAVALA (Attachments: # 1 Cover Letter)(tam) (Entered: 06/04/2021)
06/21/2021   91   AMENDED OBJECTION to 71 , 80 Report and Recommendations filed by
                  DAVID ZAVALA (Attachments: # 1 Envelope)(tam) (Entered: 06/21/2021)
06/30/2021   92   ORDER construing 91 Amended Objection to 80 Report and
                  Recommendation filed by DAVID ZAVALA as a Rule 60(b) motion and
                  denying the relief sought by DAVID ZAVALA's Rule 60(b) motion. Ordered by
                  US DISTRICT JUDGE TILMAN E. SELF, III on 6/29/2021. (ech) (Entered:
                  06/30/2021)
08/25/2021   93   USCA Order granting motion to proceed in forma pauperis as to 77 Notice of
                  Appeal, filed by DAVID ZAVALA (tam) (Entered: 08/25/2021)
11/08/2021   94   Letter of Concern from David Zavala; re 77 Notice of Appeal. (Attachments: # 1
                  Envelope)(tam) (Entered: 11/08/2021)
11/08/2021   95   MOTION for Reconsideration re 74 Judgment Filed by DAVID ZAVALA.
                  (Attachments: # 1 Exhibit A− Declaration, # 2 Envelope)(tam) (Entered:
                  11/08/2021)
11/18/2021   96   ORDER denying 95 Motion for Reconsideration. Ordered by US DISTRICT
                  JUDGE TILMAN E SELF, III on 11/17/2021. (chc) Modified on 11/19/2021 to
                  correct ordered date (tam). (Entered: 11/18/2021)
12/20/2021   97   NOTICE OF APPEAL as to 96 Order on Motion for Reconsideration by
                  DAVID ZAVALA. (Attachments: # 1 Envelope)(tam) (Entered: 12/20/2021)




                                                                                         GAMD 11
       Case
     Case    5:19-cv-00383-TES-CHWDocument
          5:19-cv-00383-TES-CHW    Document9896 Filed
                                                Filed12/20/21
                                                      11/18/21 Page
                                                               Page112
                                                                     ofof
                                                                       3 21




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION


DAVID ZAVALA,

          Plaintiff,

v.                                                              CIVIL ACTION NO.
                                                               5:19-cv-00383-TES-CHW
Commissioner TIMOTHY C. WARD, et al.,

          Defendants.



              ORDER DENYING MOTION FOR RELIEF FROM JUDGMENT



         Before the Court is Defendant Zavala’s Motion for Relief from Judgment 1 [Doc.

 95] that he filed “as an alternative” to the “laborious [and] complex task of filing an

 appellant’s brief.” [Doc. 95, p. 1]. Plaintiff previously filed an Amended Objection [Doc.

 91] that the Court construed as a Rule 60(b) motion for relief from the order adopting

 the Report and Recommendation (“R&R”) [Doc. 83] entered against him. See [Doc. 92].

 In its Order, the Court denied Plaintiff’s requested relief because he failed to “point to

 newly-discovered evidence or demonstrate a manifest error of law.” [Id. at p. 3].

 Specifically, the Court noted that Plaintiff’s Amended Objections “contain[ed] the same




 1Although docketed as a “Motion for Reconsideration,” Plaintiff titled his Motion as a “Motion for Relief
 From Judgment” and specifically relies on Federal Rule of Civil Procedure 60 which provides when
 parties are entitled to relief from a judgment or order. As such, the Court will treat this as a Motion for
 Relief from Judgment pursuant to Rule 60(b)(3) and not as a Motion for Reconsideration under Middle
 District of Georgia Local Rule 7.6.




                                                                                                           GAMD 12
     Case
   Case    5:19-cv-00383-TES-CHWDocument
        5:19-cv-00383-TES-CHW    Document9896 Filed
                                              Filed12/20/21
                                                    11/18/21 Page
                                                             Page213
                                                                   ofof
                                                                     3 21




recycled argument that he’s made several times now during the process of this

litigation: that his failure to exhaust his administrative remedies should be excused.”

[Id. at pp. 3–4].

       Plaintiff brings this Motion for Relief from Judgment pursuant to rule 60(b)(3),

which provides that relief from a final judgment is appropriate whenever there is

“fraud . . . misrepresentation, or misconduct by an opposing party.” Fed. R. Civ. P.

60(b)(3). “To prevail on a 60(b)(3) motion, the movant must prove by clear and

convincing evidence that an adverse party has obtained the verdict through fraud,

misrepresentation, or other misconduct.” Cox Nuclear Pharmacy, Inc. v. CTI, Inc., 478 F.3d

1303, 1314 (11th Cir. 2007) (citing Frederick v. Kirby Tankships, Inc., 205 F.3d 1277, 1287

(11th Cir. 2000); Booker v. Dugger, 825 F.2d 281, 283 (11th Cir. 1987)) (cleaned up).

“Additionally, the moving party must show that the conduct prevented the losing party

from fully and fairly presenting his case of defense.” Id. (cleaned up). Plaintiff’s Motion

fails to provide clear and convincing evidence that the Defendants obtained a verdict

through fraud, misrepresentation, or other misconduct.

       The current Motion for Relief from Judgment centers on the same allegations that

Plaintiff has recycled throughout the entire case: that the Defendant’s conduct

prevented him from exhausting his administrative remedies. See generally [Doc. 95];

[Doc. 91]; [Doc. 81]; [Doc. 72]; [Doc. 70]. These arguments have been evaluated by the

United States Magistrate Judge when he recommended that the Court should grant the


                                              2


                                                                                              GAMD 13
    Case
  Case    5:19-cv-00383-TES-CHWDocument
       5:19-cv-00383-TES-CHW    Document9896 Filed
                                             Filed12/20/21
                                                   11/18/21 Page
                                                            Page314
                                                                  ofof
                                                                    3 21




Defendants’ Motions to Dismiss, and when he recommended the Court should deny

Plaintiff’s Motion to Alter Judgment. See [Doc. 71]; [Doc. 80]. Moreover, the Court

reviewed and considered these arguments when it conducted de novo reviews of both

R&Rs submitted by the magistrate judge. See [Doc. 73]; [Doc. 83]. The Court also

considered these arguments in its Order construing Plaintiff’s Amended Objection as a

Rule(60)(b) motion and denied him relief from the Order adopting the magistrate

judge’s R&R. See [Doc. 92]. The Court simply does not find that these rehashed

arguments provide clear and convincing evidence that Defendants obtained judgment

through any misconduct, let alone misconduct that would warrant relief.

      Plaintiff has failed to produce any new evidence showing that Defendants

secured the Judgment entered against him by means of fraud, misrepresentation, or

misconduct. He has simply rehashed his oft-repeated arguments as “fraud” in hopes

that the Court will somehow come to a different conclusion. It won’t. Consequently, the

Court DENIES his Motion for Relief from Judgment [Doc. 95].

      SO ORDERED, this 17th day of November, 2021.

                                                S/ Tilman E. Self, III__________________
                                                TILMAN E. SELF, III, JUDGE
                                                UNITED STATES DISTRICT COURT




                                            3


                                                                                        GAMD 14
  Case
Case    5:19-cv-00383-TES-CHWDocument
     5:19-cv-00383-TES-CHW    Document9897 Filed
                                           Filed12/20/21
                                                 12/20/21 Page
                                                          Page115
                                                                ofof
                                                                  6 21




                                                                         GAMD 15
  Case
Case    5:19-cv-00383-TES-CHWDocument
     5:19-cv-00383-TES-CHW    Document9897 Filed
                                           Filed12/20/21
                                                 12/20/21 Page
                                                          Page216
                                                                ofof
                                                                  6 21




                                                                         GAMD 16
  Case
Case    5:19-cv-00383-TES-CHWDocument
     5:19-cv-00383-TES-CHW    Document9897 Filed
                                           Filed12/20/21
                                                 12/20/21 Page
                                                          Page317
                                                                ofof
                                                                  6 21




                                                                         GAMD 17
  Case
Case    5:19-cv-00383-TES-CHWDocument
     5:19-cv-00383-TES-CHW    Document9897 Filed
                                           Filed12/20/21
                                                 12/20/21 Page
                                                          Page418
                                                                ofof
                                                                  6 21




                                                                         GAMD 18
  Case
Case    5:19-cv-00383-TES-CHWDocument
     5:19-cv-00383-TES-CHW    Document9897 Filed
                                           Filed12/20/21
                                                 12/20/21 Page
                                                          Page519
                                                                ofof
                                                                  6 21




                                                                         GAMD 19
  Case
Case    5:19-cv-00383-TES-CHWDocument
     5:19-cv-00383-TES-CHW    Document9897 Filed
                                           Filed12/20/21
                                                 12/20/21 Page
                                                          Page620
                                                                ofof
                                                                  6 21




                                                                         GAMD 20
           Case
          Case   5:19-cv-00383-TES-CHW Document
               5:19-cv-00383-TES-CHW    Document98
                                                 97-1 Filed
                                                       Filed12/20/21
                                                             12/20/21 Page
                                                                      Page 21
                                                                           1 ofof121
GAMD 21
